 Case: 4:19-cv-02467-SNLJ Doc. #: 16 Filed: 09/30/19 Page: 1 of 4 PageID #: 139



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

GREGORY WATERS, on behalf of himself                  )
and all others similarly situated,                    )
                                                      )
               Plaintiff,                             )       Case No. 4:19-cv-02467-SNLJ
                                                      )
v.                                                    )
                                                      )
THE HOME DEPOT USA, INC.                              )
                                                      )
               Defendant.                             )

                            PLAINTIFF’S MOTION TO REMAND

       Plaintiff Gregory Waters moves to remand this action to the Circuit Court of St. Louis

County, 21st Judicial Circuit, State of Missouri pursuant to 28 U.S.C. § 1447(c), the court from

which Defendants wrongfully removed it. In support thereof, Plaintiff states as follows:

       1.      This is a class action by Plaintiff Gregory Waters against Defendants The Home

Depot USA, Inc. (“Defendant” or “Home Depot”). Plaintiff brings this class action on behalf of

himself and all persons and entities who purchased a product from Home Depot through remote

sales channels, including its internet website, that was delivered from an out-of-state facility to a

Missouri delivery address and were charged sales tax monies at the sales tax rate rather than the

use tax rate where the erroneously charged sales tax rate exceeded the applicable use tax rate.

Plaintiffs are seeking damages for the overcollection of state sales tax. Specifically, Plaintiff

seeks, inter alia, injunctive relief as well as damages and costs for violations of the Missouri

Merchandising Practices Act (“MMPA”), Mo Rev. Stat. § 407.010 et seq., as well as damages

for unjust enrichment, negligence, and money had and received. Each cause of action arises

under Missouri Law.
 Case: 4:19-cv-02467-SNLJ Doc. #: 16 Filed: 09/30/19 Page: 2 of 4 PageID #: 140



       2.      Home Depot removed the case from the Circuit Court of St. Louis County to the

U.S. District Court for the Eastern District of Missouri on August 30, 2019. Home Depot asserts

original jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. 1332(d) (“CAFA”).

CAFA authorizes removal if, inter alia, the amount in controversy exceeds $5 million in the

aggregate.

       3.      As they are the part invoking jurisdiction, Home Depot bears the burden of

proving that all prerequisites to jurisdiction are satisfied. Hatridge v. Aetna Cas. & Sur. Co.,

415 F.2d 809, 814 (8th Cir. 1969); State ex rel. Nixon v. Nextel West, 248 F.Supp.2d 885, 888

(E.D.Mo. 2003). The party opposing removal does not bear the burden of demonstrating that the

action should be remanded.

       4.      The principles of comity and federalism provide that the appropriate court to

handle a state sales tax lawsuit is the state court. “Courts may decline to exercise jurisdiction

where issues of comity and federalism counsel against entertaining claims that risk disrupting

state and local tax administration.” City of Maryland Heights v. TracFone Wireless, Inc., No.

4:12CV00755 AGF, 2013 WL 791866, at *2 (E.D. Mo. Mar. 4, 2013) citing Levin v. Commerce

Energy, Inc., 130 S.Ct. 2323, 2330 (2010).

       5.      This Court has no jurisdiction over Plaintiff’s claims for damages and declaratory

and injunctive relief based upon Home Depot’s charging and collecting of incorrect state sales

tax. The Tax Injunction Act (“TIA”) reads, “The district courts shall not enjoin, suspend or

restrain the assessment, levy or collection of any tax under State law where a plain, speedy and

efficient remedy may be had in the courts of such State.” 28 U.S.C. § 1341. The TIA was

designed expressly to restrict “the jurisdiction of the district courts of the United States over




                                                  2
 Case: 4:19-cv-02467-SNLJ Doc. #: 16 Filed: 09/30/19 Page: 3 of 4 PageID #: 141



suits relating to the collection of State taxes.” Hibbs v. Winn, 542 U.S. 88, 104, 124 S.Ct. 2276,

159 L.Ed.2d 172 (2004).

       6.      CAFA provides that federal courts have original jurisdiction over class actions

based on state law when the amount in controversy exceeds $5 million in the aggregate. 28

U.S.C. §§ 1332(d)(2) and (5)(B).

       7.      The “burden of showing federal jurisdiction is on the defendant removing under

CAFA.” Amoche v. Guarantee Trust Life Ins. Co., 556 F.3d 41, 48 (1st Cir. 2009). A case does

not become removable under CAFA “until a document is ‘received by the defendant from the

plaintiff-be it the initial complaint or a later received paper ... [that] unambiguously establish[es]

federal jurisdiction.’” Thomas v. Bank of America Corp., 570 F.3d 1280, 1283 (11th Cir. 2009).

       8.      The Court should remand this case to the Circuit Court of St. Louis County,

because Home Depot fails to demonstrate, as it must, that the amount in controversy exceeds $5

million.

       WHEREFORE, Plaintiffs pray for an order remanding this action to the Circuit Court of

St. Louis County, 21st Judicial Circuit, State of Missouri pursuant to 28 U.S.C. § 1447(c).

                                               Respectfully submitted,

                                               Orlowsky Law, LLC


                                               /s/ Daniel J. Orlowsky_____________
                                               Daniel J. Orlowsky, #57387MO
                                               7777 Bonhomme, Suite 1910
                                               St. Louis, Missouri 63105
                                               Phone: (314) 725-5151
                                               Fax: (314) 455-7375
                                               dan@orlowskylaw.com

                                               Attorney for Plaintiff



                                                  3
 Case: 4:19-cv-02467-SNLJ Doc. #: 16 Filed: 09/30/19 Page: 4 of 4 PageID #: 142



                                             Goffstein Law, LLC

                                             /s/ Adam M. Goffstein
                                             Adam M. Goffstein, #45611MO
                                             7777 Bonhomme, Suite 1910
                                             St. Louis, Missouri 63105
                                             Phone: (314) 725-5151
                                             Fax: (314) 455-7278
                                             adam@goffsteinlaw.com

                                             Attorney for Plaintiff



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of September, 2019, the foregoing was filed

electronically with the Clerk of Court and served via the Court’s CM/ECF system to all

attorneys of record.



                                             /s/Daniel J. Orlowsky




                                                4
